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                                UNITED STATES DISTRICT COURT
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                 CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION
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      AL CABRINI, an individual,                     Case No. 2:20-cv-04518-SVW-AFM
13
14                                      Plaintiff,
                                                     ORDER DISMISSING ACTION WITH
15                         v.                        PREJUDICE
16 CASPAR CHOU, an individual, and                   Courtroom 10A
17 DOES 1-20,                                        Judge: Hon. Stephen V. Wilson

18                                   Defendants.
19
20           The Court, having reviewed the Parties’ Stipulation to Entry of an Order
21     Dismissing Action with Prejudice following the Parties’ settlement of their dispute,
22     hereby ORDERS that this action be and hereby is DISMISSED WITH PREJUDICE.
23           IT IS SO ORDERED.
24     Dated:   May 27, 2022

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                                                     ___________________________________
26                                                        HON. STEPHEN V. WILSON
27                                                     UNITED STATES DISTRICT JUDGE

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                                Order Dismissing Action with Prejudice
